Case 1:11-cr-00205-JAW Document 910 Filed 11/03/16 Page 1 of 2    PageID #: 4379




                        UNITED STATES DISTRICT COURT
                             DISTRICT OF MAINE


   MANUEL TRINIDAD-ACOSTA,             )
                                       )
              Petitioner,              )
                                       )      1:11-cr-00205-JAW-01
         v.                            )
                                       )
   UNITED STATES OF AMERICA,           )
                                       )
              Respondent.              )


                   ORDER AFFIRMING THE
        RECOMMENDED DECISION OF THE MAGISTRATE JUDGE

         The United States Magistrate Judge filed with the Court on September

   30, 2016 his Recommended Decision (ECF No. 905). The Petitioner filed his

   objections to the Recommended Decision on October 14, 2016 (ECF No. 907).

   I have reviewed and considered the Magistrate Judge’s Recommended

   Decision, together with the entire record; I have made a de novo

   determination of all matters adjudicated by the Magistrate Judge’s

   Recommended Decision; and I concur with the recommendations of the

   United States Magistrate Judge for the reasons set forth in his

   Recommended Decision, and determine that no further proceeding is

   necessary.

         1. It is therefore ORDERED that the Recommended Decision of the
            Magistrate Judge be and hereby is AFFIRMED.

         2. It is further ORDERED that the Petitioner’s 28 U.S.C. § 2255
            Petition (ECF No. 880) be and hereby is DENIED.
Case 1:11-cr-00205-JAW Document 910 Filed 11/03/16 Page 2 of 2     PageID #: 4380




         3. It is further ORDERED that no certificate of appealability should
            issue in the event the Petitioner files a notice of appeal because
            there is no substantial showing of the denial of a constitutional
            right within the meaning of 28 U.S.C. § 2253(c)(2).

         SO ORDERED.


                                 /s/ John A. Woodcock, Jr.
                                 JOHN A. WOODCOCK, JR.
                                 UNITED STATES DISTRICT JUDGE

   Dated this 3rd day of November, 2016




                                          2
